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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA

 FLORINA ALTSHILER,

                Plaintiff,

                v.

 STATE OF ALASKA,

                Defendant.
                                              Case No. 3:16-cv-00259-SLG



           JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       Plaintiff Florina Altshiler and Defendant State of Alaska stipulate to the dismissal,

with prejudice, of all Plaintiff’s claims and causes of action against the Defendant in this

case. Each party is to bear its own costs and attorney’s fees in this matter.




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       Respectfully submitted this 25th day of September 2018.


                                                  ____/s/________________________
                                                  Christopher V. Hoke
                                                  Co-Counsel for Plaintiff, Florina Altshiler
                                                  Alaska State Bar No. 1211098




                              CERTIFICATE OF SERVICE

       I hereby certify on September 25, 2018, a true and correct copy of the foregoing Joint
Notice of Settlement was served via electronic mail upon:

       State of Alaska
       Attorney General’s Office
       Rebecca H. Cain
       1031 W. 4th Ave, Suite 200
       Anchorage, AK 99501
       rebecca.cain@alaska.gov


                                              __________/s/________________________
                                             Christopher V. Hoke, AK Bar No. 1211098




 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE                                    PAGE 2


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